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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA
Vv. Criminal Action No. 1:23-cr-00061-MN
ROBERT HUNTER BIDEN,

Defendant.

DECLARATION OF ROBERT HUNTER BIDEN IN SUPPORT
OF DEFENDANT’S NOTICE OF PARDON

I, Robert Hunter Biden, declare as follows:

1; On December 1, 2024, the President of the United States of America, Joseph R.
Biden Jr., granted me a full and unconditional pardon for, inter alia, the offenses specified in the

Indictment in this case, No. 1:23-cr-00061.

2. On December 1, 2024, I received and formally accepted the President’s grant of a

pardon.

I declare (or certify, verify, or state) under penalty of perjury under the laws of the United

States of America that the foregoing is true and correct.

Executed on December 1, 2024 in Washington, D.C.

LB

Rébert Hunter Biden

